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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS DALLAS DIVISION

 

 

 

 

 

 

 

 

 

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
Case Number: 3:15-CR-00478-B(2)
CONNIE SU MOSER USM Number: 54692-177
Howard Benjamin Blackmon and Thomas A
D’Amore
Defendant’s Attorney
THE DEFENDANT:
Dd | pleaded guilty to count(s) oe ait and 2 of the two-count superseding Information filed May
pleaded guilty to count(s) before a U.S.
LJ | Magistrate Judge, which was accepted by the
court.
O pleaded nolo contendere to count(s) which was
accepted by the court
cm | was found guilty on count(s) after a plea of not
guilty
The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense Offense Ended Count
18 U.S.C. § 1952(a)(3) & (A) Use of a Facility of Interstate Commerce in Aid of a Racketeering 03/01/2015 1
Enterprise
18 U.S.C. § 4 Misprision of a Felony 12/09/2014 2

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
C=‘ The defendant has been found not guilty on count(s)

& Counts 5 and 6 of the superseding Indictment 1 is & are dismissed on the motion of the United States as to this defendant.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

September 28, 2018

Date of Imposition of Judgment

ML

Wa € WA

rhe Lowe UNITED STATES DISTRICT JUDGE

 

Name Ee Title of Judge

September 28, 2018

 

Date
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DEFENDANT: CONNIE SU MOSER
CASE NUMBER: 3:15-CR-00478-B(2)

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

60 months as to Count | and 36 months as to Count 2, to run consecutively for a total term of 96 months.

X] The court makes the following recommendations to the Bureau of Prisons:
that the defendant be allowed to serve her sentence at FPC Bryan, Bryan, Texas, if eligible.

The defendant is remanded to the custody of the United States Marshal.
L] The defendant shall surrender to the United States Marshal for this district:

L] at O am. O pm. on
L] as notified by the United States Marshal.
[] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

L] before 2 p.m. on
[1 as notified by the United States Marshal.
L] as notified by the Probation or Pretrial Services Office.

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

 

UNITED STATES MARSHAL

By
DEPUTY UNITED STATES MARSHAL

 
 

 

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DEFENDANT: CONNIE SU MOSER
CASE NUMBER: 3:15-CR-00478-B(2)

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of : one (1) year of supervised release as to
each of Counts 1 and 2, to run concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable)

4. [] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
of restitution. (check if applicable)

You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

Lj &X

You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. ( You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
 

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DEFENDANT: CONNIE SU MOSER
CASE NUMBER: 3:15-CR-00478-B(2)

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A USS. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at www.txnp.uscourts.gov.

Defendant’s Signature Date

 

 
 

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DEFENDANT: CONNIE SU MOSER
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SPECIAL CONDITIONS OF SUPERVISION

As a condition of supervised release, upon the completion of the sentence of imprisonment, the defendant shall be
surrendered to a duly-authorized immigration official for deportation in accordance with the established procedures
provided by the Immigration and Nationality Act, 8 U.S.C. § 1101 et seq. Asa further condition of supervised release, if
ordered deported or removed, the defendant shall remain outside the United States.

In the event the defendant is not deported upon release from imprisonment, the defendant shall comply with the standard
conditions contained in this Judgment and shall comply with the mandatory and special conditions stated herein.
 

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DEFENDANT: CONNIE SU MOSER
CASE NUMBER: 3:15-CR-00478-B(2)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

 

 

 

 

 

 

 

Assessment | JVTA Assessment* Fine Restitution
TOTALS $200.00 $.00 $.00 $.00
[_] The determination of restitution is deferred until An Amended Judgment in a Criminal Case (AO245C) will be entered

after such determination.
(]_ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
§ 3664(i), all nonfederal victims must be paid before the United States is paid.

Restitution amount ordered pursuant to plea agreement $

OO

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

LJ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[] _ the interest requirement is waived for the L] fine [] _ restitution

([] _ the interest requirement for the CL] fine [] _ restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

 
 

 

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DEFENDANT: CONNIE SU MOSER
CASE NUMBER: 3:15-CR-00478-B(2)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A []_ Lump sum payments of $ due immediately, balance due

{J not later than , or

[] in accordance I] ¢, CT dD, [|] E,or L]  F below; or
B [Payment to begin immediately (may be combined with []  C, C] Dor C1) _ F below); or
C ( Paymentinequal (e.g., weekly, monthly, quarterly) installments of $____—__over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment;
or

D (Payment in equal (e.g, weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after release from
imprisonment to a term of supervision; or

E [Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release
from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
time; or

F LX] Special instructions regarding the payment of criminal monetary penalties:

It is ordered that the Defendant shall pay to the United States a special assessment of $200.00 for Counts 1 and 2,
which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S, District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

LC] Joint and Several

See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate.

__ Defendant shall receive credit on her restitution obligation for recovery from other defendants who contributed to the same
loss that gave rise to defendant's restitution obligation.

The defendant shall pay the cost of prosecution.

OO

The defendant shall pay the following court cost(s):
The defendant shall forfeit the defendant’s interest in the following property to the United States:

xX

 

Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461, the defendant shall forfeit to the United States any property, real or
personal, involved in the offense, or any property traceable to such property, including but not limited to: real property located at
2658 Sherwood Drive, Lewisville, Texas 75067; $22,126.95 seized from Wells Fargo cashier's check No. 38701733 from account
No. 9829; $15,250.97 seized from Wells Fargo cashier's check No. 38701732 from account No. 1363; $2,686.50 seized from Bank
of America cashier's check No. 6198047122 from account No. 5713; a Lexus ES350, license No. FRC4212, Vehicle Identification
No. (VIN) JTHBK1GG9F2151717; $412,893 in U.S. currency; and $15,000 in Money Gram money orders made out to PNC

Mortgage.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
